Case 2:10-cv-05614-MMB Document 1 Filed 10/25/10 Page 1 of 13
Case 2:10-cv-05614-MMB Document 1 Filed 10/25/10 Page 2 of 13
Case 2:10-cv-05614-MMB Document 1 Filed 10/25/10 Page 3 of 13
Case 2:10-cv-05614-MMB Document 1 Filed 10/25/10 Page 4 of 13
Case 2:10-cv-05614-MMB Document 1 Filed 10/25/10 Page 5 of 13
Case 2:10-cv-05614-MMB Document 1 Filed 10/25/10 Page 6 of 13
Case 2:10-cv-05614-MMB Document 1 Filed 10/25/10 Page 7 of 13
Case 2:10-cv-05614-MMB Document 1 Filed 10/25/10 Page 8 of 13
Case 2:10-cv-05614-MMB Document 1 Filed 10/25/10 Page 9 of 13
Case 2:10-cv-05614-MMB Document 1 Filed 10/25/10 Page 10 of 13
Case 2:10-cv-05614-MMB Document 1 Filed 10/25/10 Page 11 of 13
Case 2:10-cv-05614-MMB Document 1 Filed 10/25/10 Page 12 of 13
Case 2:10-cv-05614-MMB Document 1 Filed 10/25/10 Page 13 of 13
